
Order granting respondent’s application for leave to serve a notice of claim under subdivision 5 of section 50-e of the General Municipal Law, after the expiration of the time then fixed by subdivision 1 of said section, affirmed, with $10 costs and disbursements. The record establishes *1009that respondent was mentally and physically incapacitated during the time within which the notice of claim was so required to be served and by reason of such disability failed to serve notice within that time. In our opinion, upon the facts shown in this record, there was no abuse of discretion by Special Term in finding that the application was made 'within a reasonable time after the expiration of the. time so specified. Nolan, P. J., Carswell, Sneed, Wenzel and MaeCrate, JJ., concur.
